
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Kenneth A. Doggett, Louisiana Bar Roll number 18186, be publicly reprimanded.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
JOHNSON, J., dissents and assigns reasons.
CALOGERO, C.J., and TRAYLOR, J., dissent for the reasons assigned by JOHNSON, J.
